           Case 3:11-cv-01330-DJS Document 1 Filed 08/19/11 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

___________________________________
MEGAN FINNEY                        )                     CIVIL ACTION
      Plaintiff,                    )
v.                                  )
                                    )
NCC BUSINESS SERVICES, INC.         )                     JURY TRIAL CLAIMED
      Defendant                     )
___________________________________)                      AUGUST 19, 2011


                                        COMPLAINT

         1. This is a suit brought under the Fair Debt Collection Practices Act (“FDCPA”),

15 U.S.C. §§ 1692 et seq. and includes a pendent State law claim for violation of the

Connecticut Unfair Trade Practices Act (“CUTPA”), Conn. Gen. Stat. §§ 42-110a et seq.

         2. Plaintiff, Megan Finney, is a natural person residing in Guilford, Connecticut.

         3. Defendant, NCC Business Services, Inc. (“NCC”), is a Florida corporation

located in Jacksonville, Florida that is engaged in the practice of collecting consumer

debts.

         4. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d), 28

U.S.C. §§ 1331, 1367 and 1337, and Fed. R. Civ. P. 18(a).

         5. This Court has jurisdiction over NCC because it engaged in debt collection in

Connecticut.

         6. Venue in this Court is proper, because the Plaintiff is a resident and the acts

complained of occurred in this state.

         7. In early 2009, NCC sent Plaintiff a collection notice to her home in Guilford in

an attempt to collect a debt claimed by a former landlord.
            Case 3:11-cv-01330-DJS Document 1 Filed 08/19/11 Page 2 of 3



       8. Plaintiff disputed the debt, and on February 4, 2009, within 30 days of her

receipt of the collection notice, she wrote to NCC and requested that it validate the debt.

       9. As of November 30, 2010, NCC had not provided the requested validation.

       10. Notwithstanding its failure to validate the debt, NCC reported the account as

delinquent to Experian, a consumer reporting agency, in November 2010.

       11. In or around December 2010, Plaintiff called NCC to discuss the reporting of

the account, and she spoke with an NCC representative.

       12. The NCC representative told Plaintiff that it considered the debt valid and that

it would continue to report it to Experian.

       13. NCC had not, as of the date of that conversation, provided any validation of

the debt.

       14. NCC is not licensed with the Connecticut Department of Banking as a

consumer collection agency.

       15. NCC’s conduct violated the FDCPA and CUTPA.

       16. Plaintiff suffered actual damages in the form of harm to her credit.

       17. Plaintiff also has an ascertainable loss in connection with postage, travel, and

other expenses related to the need to dispute the credit reporting, communicate with her

attorney, and obtain the validation that NCC failed to provide her.




                                              2
         Case 3:11-cv-01330-DJS Document 1 Filed 08/19/11 Page 3 of 3



WHEREFORE, Plaintiff seeks recovery of actual damages (including emotional distress
related damages) pursuant to 15 U.S.C. § 1692k and C.G.S. 42-110g; statutory
damages pursuant to 15 U.S.C. § 1692k; attorney’s fees and costs pursuant to 15
U.S.C. § 1692k and C.G.S. 42-110g; punitive damages pursuant to 42-110g; damages
under 47 U.S.C. 227(b)(3); and such other relief as this Court deems appropriate.



                                             PLAINTIFF MEGAN FINNEY



                                         By: _/s/Daniel S. Blinn________
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                                         3
